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 5   Attorney for Defendant
     HENRI BERGER
 6

 7                                UNITED STATES DISTRICT COURT

 8                               NORTHERN DISTRICT OF CALIFORNIA

 9                                        OAKLAND DIVISION

10

11 UNITED STATES OF AMERICA,                                No. CR-05 00334 SBA [WDB]

12                  Plaintiff,                              [PROPOSED] ORDERS DIRECTING
                                                            U.S. MARSHAL TO ARRANGE FOR
13          vs.                                             NON-CUSTODIAL TRANSPORTATION

14 HENRI BERGER,
        a/k/a Sir Richard Benson
15
                Defendant.
16                                                 /

17          Defendant, Henri Berger, being required to appear in this Court on December 13, 2005,

18 having qualified for appointed legal representation, and good cause appearing therefor, IT IS

19 ORDERED that the United Sates Marshal for the Northern District of California arrange a one-

20 way non-custodial air transportation for Mr. Berger to travel from Oakland, to Los Angeles

21 County on December 13, 2005. Alternatively, the United States Marshal may furnish the

22 necessary fare for Mr. Berger’s trip in lieu of providing such transportation.
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24 Dated: December 13, 2005                                                    O ORD
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27                                                        _______________________________
                                                          WAYNE D. BRAZIL
28                                                        United States Magistrate Judge

     APPLICATION/ORDER RE: TRANSPORTATION
